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                               Nos. 23-13085 and 23-13095

          In the United States Court of Appeals
                 for the Eleventh Circuit

                             IN RE: GEORGIA SENATE BILL 202


                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                            Master Case No. 1:21-mi-55555-JPB

  APPELLEES-CROSS-APPELLANTS’ NOTICE OF WITHDRAWAL OF
    THEIR MOTION FOR LEAVE FOR EXCESS WORDS/PAGES ON
                   CONSOLIDATED BRIEF

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             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1-1 to 26.1-3, Plaintiffs-Appellees Georgia State Conference of the

NAACP, Georgia Coalition for the People’s Agenda, Inc., League of Women Voters

of Georgia, Inc., GALEO Latino Community Development Fund, Inc., Common

Cause, Lower Muskogee Creek Tribe, Sixth District of the African Methodist

Episcopal Church, Delta Sigma Theta Sorority, Georgia ADAPT, and Georgia

Advocacy Office certify that the following persons and entities have an interest in

the outcome of this appeal:

1.    Abbott, Robert, Defendant

2.    Abudu, Nancy, Former Attorney for Plaintiffs-Appellees

3.    Adegbile, Debo, Attorney for Plaintiffs-Appellees

4.    Aden, Leah, Attorney for Plaintiffs-Appellees

5.    Advancement Project, Attorneys for Plaintiffs-Appellees

6.    Ameri, Mana, Attorney for Plaintiffs-Appellees

7.    American Civil Liberties Union Foundation of Georgia, Inc., Attorneys for

      Plaintiffs-Appellees

8.    American Civil Liberties Union Foundation, Inc., Attorneys for Plaintiffs-

      Appellees

9.    Andrews, Wanda, Defendant

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10.   Aquino, Nora, Plaintiff-Appellee

11.   Asian Americans Advancing Justice-Asian Law Caucus, Attorneys for

      Plaintiffs-Appellees

12.   Asian Americans Advancing Justice-Atlanta, Plaintiff-Appellee

13.   Augusta Georgia Law Department, Attorneys for Defendant

14.   Ausburn, Deborah, Attorney for Defendants-Appellants

15.   Awuku, George, Defendant

16.   Banks, Marques, Attorney for Plaintiffs-Appellees

17.   Banter, James, Attorney for Defendant

18.   Barkdull, Annika Boone, Attorney for Defendants-Appellants

19.   Barnes, Sherry, Defendant

20.   Barron, Richard, Defendant

21.   Bartolomucci, Christopher, Attorney for Defendants-Appellants

22.   Beausoleil, William, Attorney for Plaintiffs-Appellees

23.   Beck Owen & Murray, Attorneys for Defendant

24.   Begakis, Steven, Attorney for Intervenors-Appellants

25.   Belichick, Joseph, Attorney for Plaintiffs-Appellees

26.   Bell, Jordan, Attorney for Defendant

27.   Bennette, Matletha, Attorney for Plaintiffs-Appellees

28.   Bibb County Board of Elections, Defendant


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29.   Bibb County Board of Registrars, Defendant

30.   Black Voters Matter Fund, Plaintiff-Appellee

31.   Blender, Matthew, Defendant

32.   Bloodworth, Kristin, Former Attorney for Defendant

33.   Boulee, Honorable Jean-Paul (“J.P.”), United States District Court Judge

34.   Bowman, Brad, Attorney for Defendant

35.   Boyle, Donald, Attorney for Defendants-Appellants

36.   Broder, Karl, Attorney for Defendant

37.   Brooks, Jessica, Defendant

38.   Brooks, Sofia, Attorney for Plaintiffs-Appellees

39.   Brown, Marcia, Defendant

40.   Bruning, Stephen, Defendant

41.   Bruning, Steven, Defendant

42.   Bryan, Bennett, Attorney for Defendant

43.   Burwell, Kaye, Attorney for Defendant

44.   Campbell-Harris, Dayton, Attorney for Plaintiffs-Appellees

45.   Carr, Christopher M., Attorney General of the State of Georgia, Attorney for

      Defendants-Appellants

46.   Carver, William, Attorney for Intervenors-Appellants

47.   Cathey, Thomas, Former Attorney for Defendant


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48.   Chalmers, Adams, Backer & Kaufman, LLC, Attorneys for Defendant

49.   Chatham County Attorney, Attorneys for Defendant

50.   Chatham County Board of Elections, Defendant

51.   Chatham County Board of Registrars, Defendant

52.   Clarke County Board of Election and Voter Registration, Defendant

53.   Clayton County Board of Elections and Registration, Defendant

54.   Cobb County Board of Elections and Registration, Defendant

55.   Cochran, Ken, Defendant

56.   Columbia County Board of Elections, Defendant

57.   Columbia County Board of Registrars, Defendant

58.   Common Cause, Plaintiff-Appellee

59.   Consovoy McCarthy PLLC, Attorney for Intervenors-Appellants

60.   Cramer, Raisa, Former Attorney for Plaintiffs-Appellees

61.   Crawford, Teresa, Defendant

62.   Crowell & Moring, LLP, Attorneys for Plaintiffs-Appellees

63.   Cushman, Ann, Defendant

64.   Cusick, John, Attorney for Plaintiffs-Appellees

65.   Dasgupta, Riddhi, Attorney for Defendants-Appellants

66.   Dave, Charles, Defendant

67.   Davenport, Jennifer, Attorney for Defendant


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68.   Davis Wright Tremaine LLP, Attorneys for Plaintiffs-Appellees

69.   Davis, Britton, Former Attorney for Plaintiffs-Appellees

70.   Day, Stephen, Defendant

71.   DeKalb County Board of Registrations and Elections, Defendant

72.   DeKalb County Law Department, Attorneys for Defendant

73.   Delta Sigma Theta Sorority, Inc., Plaintiff-Appellee

74.   Denmark, Emilie, Attorney for Defendant

75.   Dentons US LLP, Attorney for Intervenors-Appellants

76.   Deshazior, Zurich, Defendant

77.   DeThomas, Courtney, Attorney for Plaintiffs-Appellees

78.   Dianis, Judith, Attorney for Plaintiffs-Appellees

79.   Dickey, Gilbert, Attorney for Intervenors-Appellants

80.   Dicks, Terence, Defendant

81.   Dimmick, Brian, Attorney for Plaintiffs-Appellees

82.   DiStefano, Don, Defendant

83.   Doss, Travis, Defendant

84.   Dozier, Shauna, Defendant

85.   Drennon, Baxter, Attorney for Intervenors-Appellants

86.   Duffey, William, Jr., Defendant-Appellant;

87.   Duffie, Wanda, Defendant


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88.   Durbin, Jauan, Plaintiff-Appellee

89.   Durso, Katherine, Defendant

90.   Edwards, Gregory, District Attorney for Dougherty County, Defendant

91.   Elias Law Group LLP, Attorneys for Plaintiffs-Appellees

92.   Ellington, Thomas, Defendant

93.   Enjeti-Sydow, Anjali, Plaintiff-Appellee

94.   Evans, James, Attorney for Defendant

95.   Evans, Rachel, Attorney for Plaintiffs-Appellees

96.   Evans-Daniel, Karen, Defendant

97.   Eveler, Janine, Defendant

98.   Exousia Lighthouse International C.M., Inc, Former Plaintiff

99.   Faith In Action Network, Former Plaintiff

100. Falk, Donald, Attorney for Defendants-Appellants

101. Fambrough, Willa, Defendant

102. Faransso, Tania, Attorney for Plaintiffs-Appellees

103. Farrell, Gregory, Attorney for Plaintiffs-Appellees

104. Feldsherov, Ilya, Former Attorney for Plaintiffs-Appellees

105. Fenwick & West, LLP, Attorneys for Plaintiffs-Appellees

106. Field, Brian, Attorney for Defendants-Appellants




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107. First Congregational Church, United Church of Christ Incorporated,

      Plaintiff-Appellee

108. Fogelson, Matthew, Attorney for Plaintiffs-Appellees

109. Forsyth County Board of Voter Registrations and Elections, Defendant

110. Fortier, Lucas, Former Attorney for Plaintiffs-Appellees

111. Foster, Mikayla, Attorney for Plaintiffs-Appellees

112. Freeman Mathis & Gary, LLP, Attorneys for Defendant

113. Fulton County Attorney’s Office, Attorneys for Defendant

114. Fulton County Registration and Elections Board, Defendant

115. Galeo Latino Community Development Fund, Inc., Plaintiff-Appellee

116. Gammage, Keith, Defendant

117. Gartland, Pat, Defendant

118. Gay, Nancy, Defendant

119. Geiger, Debra, Defendant

120. Georgia Adapt, Plaintiff-Appellee

121. Georgia Advocacy Office, Plaintiff-Appellee

122. Georgia Coalition for the People’s Agenda, Inc., Plaintiff-Appellee

123. Georgia Department of Law, Attorneys for Defendants-Appellants

124. Georgia Latino Alliance for Human Rights, Inc., Plaintiff-Appellee

125. Georgia Muslim Voter Project, Plaintiff-Appellee


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126. Georgia Republican Party, Inc., Intervenor-Appellant

127. Georgia State Conference of the NAACP, Plaintiff-Appellee

128. Georgia State Election Board, Defendant

129. Ghazal, Sara, Defendant

130. Gibbs, Fannie, Plaintiff-Appellee

131. Gillon, Thomas, Defendant

132. Givens, Diane, Defendant

133. Gossett, David, Attorney for Plaintiffs-Appellees

134. Greater Works Ministries Network, Inc., Former Plaintiff

135. Green, Tyler, Attorney for Intervenors-Appellants

136. Greenberg Traurig, LLP, Attorneys for Defendant

137. Groves, Angela, Attorney for Plaintiffs-Appellees

138. Gwinnett County Board of Registrations and Elections, Defendant

139. Gwinnett County Department of Law, Attorneys for Defendant

140. Hall Booth Smith, P.C., Attorney for Intervenors-Appellants

141. Hall County Board of Elections and Registration, Defendant

142. Hall County Government, Attorneys for Defendant

143. Hall, Dorothy, Defendant

144. Hall, John, Attorney for Intervenors-Appellants

145. Hamilton, Brittni, Attorney for Plaintiffs-Appellees


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146. Hancock, Jack, Attorney for Defendant

147. Hart, Ralph, Attorney for Defendant

148. Hart, Twyla, Defendant

149. Hasselberg, Emily, Attorney for Plaintiffs-Appellees

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153. Heard, Bradley, Attorney for Plaintiffs-Appellees

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163. Hughes, Aileen, Attorney for Plaintiffs-Appellees

164. Hull Barrett, PC, Attorneys for Defendant

165. Ingram, Randy, Defendant


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175. Jedreski, Matthew, Attorney for Plaintiffs-Appellees

176. Jester, Alfred, Defendant

177. Jester, Nancy, Defendant

178. Jhaveri, Sejal, Attorney for Plaintiffs-Appellees

179. Johnson, Aaron, Defendant

180. Johnson, Ben, Defendant

181. Johnson, Darlene, Defendant

182. Johnson, Melinda, Attorney for Plaintiffs-Appellees

183. Johnston, Janice, Defendant

184. Joiner, Amelia, Attorney for Defendant

185. Kanu, Nkechi, Attorney for Plaintiffs-Appellees


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186. Kaplan, Mike, Defendant

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188. Kastorf, Kurt, Attorney for Plaintiffs-Appellees

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190. Keker Van Nest & Peters LLP, Attorneys for Plaintiffs-Appellees

191. Kemp, Brian, Governor of the State of Georgia, Defendant-Appellant

192. Kennedy, David, Defendant

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199. Knapp, Halsey, Attorney for Plaintiffs-Appellees

200. Koorji, Alaizah, Attorney for Plaintiffs-Appellees

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203. Lakin, Sophia, Attorney for Plaintiffs-Appellees

204. Lam, Leo, Attorney for Plaintiffs-Appellees

205. Lang, Antan, Defendant


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207. Latino Community Fund of Georgia, Plaintiff-Appellee

208. Lauridsen, Adam, Attorney for Plaintiffs-Appellees

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210. Lawyers’ Committee for Civil Rights Under Law, Attorneys for Plaintiffs-

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211. League of Women Voters of Georgia, Inc., Plaintiff-Appellee

212. Leung, Kimberly, Attorney for Plaintiffs-Appellees

213. Lewis, Anthony, Defendant

214. Lewis, Joyce, Attorney for Plaintiffs-Appellees

215. Lin, Stephanie, Attorney for Plaintiffs-Appellees

216. Lindsey, Edward, Defendant

217. Lower Muskogee Creek Tribe, Plaintiff-Appellee

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219. Ludwig, Jordan, Attorney for Plaintiffs-Appellees

220. Luth, Barbara, Defendant

221. Ma, Eileen, Attorney for Plaintiffs-Appellees

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223. Mahoney, Thomas, Defendant

224. Manifold, Zach, Defendant


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226. Mashburn, Matthew, Defendant-Appellant

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228. McAdams, Issac, Defendant

229. McCandless, Spencer, Former Attorney for Plaintiffs-Appellees

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233. McFalls, Tim, Defendant

234. McFarland, Ernest, Attorney for Plaintiffs-Appellees

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236. Mcrae, Colin, Defendant

237. Melcher, Molly, Attorney for Plaintiffs-Appellees

238. Metropolitan Atlanta Baptist Ministers Union, Inc., Plaintiff-Appellee

239. Mijente, Inc., Former Plaintiff

240. Miller, Nicholas, Attorney for Defendants-Appellants

241. Milord, Sandy, Attorney for Defendant

242. Minnis, Terry, Attorney for Plaintiffs-Appellees

243. Mizner, Susan, Attorney for Plaintiffs-Appellees

244. Mocine-McQueen, Marcos, Attorney for Plaintiffs-Appellees


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245. Momo, Shelley, Attorney for Defendant

246. Morrison, Tina, Attorney for Plaintiffs-Appellees

247. Mosbacher, Jennifer, Defendant

248. Motter, Susan, Defendant

249. Murchie, Laura, Attorney for Plaintiffs-Appellees

250. Murray, Karen, Defendant

251. NAACP Legal Defense and Education Fund, Inc., Attorneys for Plaintiffs-

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252. National Association for the Advancement of Colored People, Inc., Parent

      Corporation of Georgia State Conference of the NAACP

253. National Republican Congressional Committee, Intervenor-Appellant

254. National Republican Senatorial Committee, Intervenor-Appellant

255. Natt, Joel, Defendant

256. Nemeth, Miriam, Former Attorney for Plaintiffs-Appellees

257. Nercessian, Armen, Attorney for Plaintiffs-Appellees

258. New Birth Missionary Baptist Church, Inc., Plaintiff

259. Newland, James, Defendant

260. Nguyen, Candice, Attorney for Plaintiffs-Appellees

261. Nguyen, Phi, Former Attorney for Plaintiffs-Appellees

262. Nkwonta, Uzoma, Attorney for Plaintiffs-Appellees


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274. Paik, Steven, Plaintiff-Appellee

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280. Porter, Megan, Former Attorney for Plaintiffs-Appellees

281. Powell, Laura E., Attorney for Plaintiffs-Appellees

282. Prince, Joshua, Former Attorney for Defendants-Appellants


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283. Pulgram, Laurence, Attorney for Plaintiffs-Appellees

284. Pullar, Patricia, Defendant

285. Qadir, Hunaid, Defendant

286. Radzikinas, Carla, Defendant

287. Raffensperger, Brad, Secretary of State of Georgia, Defendant-Appellant

288. Raffle, Rocky, Defendant

289. Ramahi, Zainab, Attorney for Plaintiffs-Appellees

290. Rich, James, Attorney for Plaintiffs-Appellees

291. Richardson, Jasmyn, Attorney for Plaintiffs-Appellees

292. Richmond County Board of Elections, Defendant

293. Ringer, Cheryl, Former Attorney for Defendant

294. Rise, Inc., Plaintiff-Appellee

295. Rodriguez, Anthony, Defendant

296. Rosborough, Davin, Attorney for Plaintiffs-Appellees

297. Rosenberg, Ezra, Attorney for Plaintiffs-Appellees

298. Rosenberg, Steven, Former Attorney for Defendant

299. Rusciano, Megan, Attorney for Plaintiffs-Appellees

300. Russ, John, Attorney for Plaintiffs-Appellees

301. Ruth, Kathleen, Defendant

302. Ryan, Elizabeth, Attorney for Plaintiffs-Appellees


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303. Sabzevari, Arash, Attorney for Defendant

304. Sachdeva, Niharika, Attorney for Plaintiffs-Appellees

305. Samuel Dewitt Proctor Conference, Inc., Former Plaintiff

306. Sankofa United Church of Christ Limited, Former Plaintiff

307. Schaerr | Jaffe LLP, Attorneys for Defendants-Appellants

308. Schaerr, Gene, Attorney for Defendants-Appellants

309. Scott, William, Former Attorney for Defendant

310. Seals, Veronica, Defendant

311. Segarra, Esperanza, Former Attorney for Plaintiffs-Appellees

312. Sells, Bryan, Attorney for Plaintiffs-Appellees

313. Shah, Niyati, Attorney for Plaintiffs-Appellees

314. Sheats, Gala, Defendant

315. Shelly, Jacob, Attorney for Plaintiffs-Appellees

316. Shirley, Adam, Defendant

317. Sieff, Adam, Attorney for Plaintiffs-Appellees

318. Silas, Tori, Defendant

319. Sixth District of the African Methodist Episcopal Church, Plaintiff-Appellee

320. Smith, Casey, Attorney for Plaintiffs-Appellees

321. Smith, Dele, Defendant

322. Smith, Mandi, Defendant


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323. Solh, Chahira, Attorney for Plaintiffs-Appellees

324. Solomon, Elbert, Plaintiff-Appellee

325. Sosebee, Charlotte, Defendant

326. Southern Poverty Law Center, Attorneys for Plaintiffs-Appellees

327. Sowell, Gregory, Attorney for Defendant

328. Sparks, Adam, Attorney for Plaintiffs-Appellees

329. Squiers, Cristina, Attorney for Defendants-Appellants

330. Stewart Melvin & Frost, LLP, Attorneys for Defendant

331. Strawbridge, Patrick, Attorney for Intervenors-Appellants

332. Sumner, Stuart, Attorney for Intervenors-Appellants

333. Sung, Connie, Attorney for Plaintiffs-Appellees

334. Swift, Karli, Defendant

335. Szilagyi, Heather, Attorney for Plaintiffs-Appellees

336. Tatum, Tobias, Attorney for Defendants-Appellants

337. Taylor English Duma LLP, Attorneys for Defendants-Appellants

338. Taylor, Wandy, Defendant

339. Thatte, Anuja, Attorney for Plaintiffs-Appellees

340. The ACLU Foundation Disability Rights Program, Attorneys for Plaintiffs-

      Appellees

341. The Arc of the United States, Plaintiff-Appellee


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342. The Concerned Black Clergy of Metropolitan Atlanta, Inc., Plaintiff-

      Appellee

343. The Georgia State Election Board, Defendant

344. The Justice Initiative, Inc., Plaintiff-Appellee

345. The Law Office of Bryan L. Sells, LLC, Attorneys for Plaintiffs-Appellees

346. The New Georgia Project, Plaintiff-Appellee

347. The Republican National Committee, Intervenor-Appellant

348. The State of Georgia, Defendant-Appellant

349. The United States of America, Plaintiff-Appellee

350. The Urban League of Greater Atlanta, Inc., Former Plaintiff-Appellee

351. Thomas, Ethan, Attorney for Plaintiffs-Appellees

352. Thompson, Grace, Attorney for Plaintiffs-Appellees

353. Till, Ann, Defendant

354. Topaz, Jonathan, Attorney for Plaintiffs-Appellees

355. Trent, Edward, Attorney for Defendants-Appellants

356. Tucker, William, Attorney for Plaintiffs-Appellees

357. Tyson, Bryan, Attorney for Defendants-Appellants

358. Uddullah, Angelina, Plaintiff-Appellee

359. Unger, Jess, Attorney for Plaintiffs-Appellees

360. United States Department of Justice, Attorneys for Plaintiffs-Appellees


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361. Van Stephens, Michael, Attorney for Defendant

362. Vander Els, Irene, Former Attorney for Defendant

363. Varghese, George, Attorney for Plaintiffs-Appellees

364. Varner, Johnny, Defendant

365. Vasquez, Jorge, Former Attorney for Plaintiffs-Appellees

366. Vaughan, Elizabeth, Former Attorney for Defendants-Appellants

367. Waite, Tristen, Attorney for Defendant

368. Wakschlag, Shira, Attorney for Plaintiffs-Appellees

369. Wang, Emily, Attorney for Plaintiffs-Appellees

370. Wardenski, Joseph, Former Attorney for Plaintiffs-Appellees

371. Ward-Packard, Samuel, Attorney for Plaintiffs-Appellees

372. Webb, Brian K., Attorney for Defendants-Appellants

373. Weber, Gerald, Attorney for Plaintiffs-Appellees

374. Weigel, Daniel, Attorney for Defendants-Appellants

375. Wesley, Carol, Defendant

376. White, Daniel, Attorney for Defendant

377. White, William, Attorney for Intervenors-Appellants

378. Wiggins, Larry, Defendant

379. Wilberforce, Nana, Attorney for Plaintiffs-Appellees

380. Wilborn, Eric, Attorney for Defendant


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381. Willard, Russell D., Attorney for Defendants-Appellants

382. Williams, Gilda, Former Attorney for Plaintiffs-Appellees

383. Williams, Tuwanda, Former Attorney for Defendant

384. Wilmer Cutler Pickering Hale and Dorr LLP, Attorneys for Plaintiffs-

      Appellees

385. Wilson, Jacob, Attorney for Defendant

386. Wilson, Melanie, Attorney for Defendant

387. Wingate, Mark, Defendant

388. Winichakul, Pichaya, Attorney for Plaintiffs-Appellees

389. Women Watch Afrika, Plaintiff-Appellee

390. Woodfin, Conor, Attorney for Intervenors-Appellants

391. Woolard, Cathy, Defendant

392. Wurtz, Lori, Defendant

393. Yoon, Meredyth, Attorney for Plaintiffs-Appellees

394. Young, Sean, Former Attorney for Plaintiffs-Appellees

395. Zatz, Clifford, Attorney for Plaintiffs-Appellees

      Members of the above-named Plaintiff-Appellee groups and residents of the

State of Georgia also have an interest in the outcome of this appeal.

      Except Plaintiff-Appellee Georgia State Conference of the National

Association for the Advancement of Colored People (whose parent corporation is


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National Association for the Advancement of Colored People, Inc.), none of the

above parties has a parent corporation, and no corporation owns 10% or more of any

party’s stock. No publicly traded company or corporation has an interest in the

outcome of this case or appeal.

      Per Eleventh Circuit Rule 26.1-2(c), Appellees certify that the certificate of

interested persons contained in this motion is complete.



 Dated: August 20, 2024                    Respectfully Submitted

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        Appellees-Cross-Appellants1 in the consolidated appeals of Case Numbers

23-13085 and 23-13095 hereby withdraw their previously filed motion for leave,

pursuant to 11th Circuit Rule 32-4, to file a consolidated response and principal

cross-appeal brief that exceeds the word limit prescribed by Federal Rule of

Appellate Procedure 28.1(e)(2). Dkt. 139 (23-13085); Dkt. 117 (23-13095). Given

this withdrawal, the Court need not take any further action on Appellees-Cross-

Appellants’ request for additional words.




    Dated: August 20, 2024                      Respectfully Submitted

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  Appellees-Cross-Appellants consist of two plaintiffs groups: Plaintiffs Georgia State
Conference of the NAACP, Georgia Coalition for the People’s Agenda, Inc., League of
Women Voters of Georgia, Inc., GALEO Latino Community Development Fund, Inc.,
Common Cause, and the Lower Muskogee Creek Tribe (the “Georgia NAACP Plaintiffs”)
and Plaintiffs Sixth District Of The African Methodist Episcopal Church, Delta Sigma
Theta Sorority, Inc., Georgia Adapt, Georgia Advocacy Office, Georgia Muslim Voter
Project, Latino Community Fund Of Georgia, The Arc Of The United States, and Women
Watch Afrika (the “AME Plaintiffs”).
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